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                                                                                   April 12, 2023

                                                                              CLERK, U.S. DISTRICT COURT
                      IN THE UNITED STATES DISTRICT COURT                     WESTERN DISTRICT OF TEXAS
                       FOR THE WESTERN DISTRICT OF TEXAS                          By:        MV
                                El PASO DIVISION
                                EL Paso                                                            Deputy

                                              '               Case No:          EP:23-CR-00671-DCG
 UNITED STATES OF AMERICA,                    '
                                              '
        Plaintiff,                            '
                                              '
                                                   INDIC TMENT
                                              '
 v.
                                              '
                                              '    CT 1: 21:952(a)-Importation of a Controlled
 LORENA MORENO                                '    Substance;
                                              '
        Defendant.                            '    CT 2: 21:841(a)(1)-Possession of a
                                              '    Controlled Substance With Intent to
                                              '    Distribute
                                              '

       THE GRAND JURY CHARGES:

                                        COUNT ONE
                          (21 U.S.C. '' 952(a), 960(a)(1) & 960(b)(3))

                                                                           Defendant,

                                     LORENA MORENO,

knowingly and intentionally imported into the United States from Mexico a controlled substance,

which offense involved a quantity of a mixture or substance containing a detectable amount of N-

phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (otherwise known as fentanyl), a

Schedule II Controlled Substance, in violation of Title 21, United States Code, Sections 952(a),

960(a)(1) and 960(b)(3).

                                                 TWO
                            (21 U.S.C. '' 841(a)(1) & 841(b)(1)(C))

                                                                           Defendant,

                                     LORENA MORENO,

knowingly and intentionally possessed with intent to distribute a controlled substance, which

offense involved a quantity of a mixture or substance containing a detectable amount of N-phenyl-
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N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (otherwise known as fentanyl) a Schedule II

Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C)).




JAIME ESPARZA
UNITED STATES ATTORNEY



BY:
         Assistant U.S. Attorney
